 1   Susan E. Smith (CA Bar No. 329539)              George J. Gigounas (CA Bar No. 209334)
     ssmith@bdlaw.com                                george.gigounas@us.dlapiper.com
 2   BEVERIDGE & DIAMOND PC                          DLA PIPER LLP (US)
     456 Montgomery Street, Ste. 1800                555 Mission Street, Suite 2400
 3
     San Francisco, CA 94104                         San Francisco, CA 94105
 4   Tel: 415.262.4023                               Tel: 415.836.2500
     Attorneys for Defendants                        Attorney for Defendant
 5   Bridgestone Americas Tire Operations, LLC;      Michelin North America, Inc
     Continental Tire the Americas, LLC; GITI
 6   Tire (USA), Ltd.; The Goodyear Tire &           Gwendolyn Keyes Fleming (Admitted Pro
     Rubber Company, individually and as             Hac Vice)
 7
     successor in interest to Cooper Tire & Rubber   Gwen.KeyesFleming@us.dlapiper.com
 8   Company; Nokian Tyres Inc.; Nokian Tyres        DLA PIPER LLP (US)
     U.S. Operations, LLC; Pirelli Tire LLC;         500 8th Street, NW
 9   Sumitomo Rubber North America, Inc.;            Washington, DC 20004
     Sumitomo Rubber USA, LLC; Toyo Tire             Tel: 202.799.4000
10   Holdings of Americas, Inc.; and Yokohama        Attorney for Defendant
11   Tire Corporation.                               Kumho Tire U.S.A., Inc.

12   Adam Baas (CA Bar No. 220464)
     adam.baas@us.dlapiper.com
13   DLA PIPER LLP (US)
     555 Mission Street, Suite 2400
14   San Francisco, CA 94105-2933
15   Tel: 415.836.2500
     Attorney for Defendant
16   Hankook Tire America Corp.

17   (Additional Counsel on Signature Page)
18

19                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
20
     INSTITUTE FOR FISHERIES RESOURCES; and
21   PACIFIC COAST FEDERATION OF
     FISHERMEN’S ASSOCIATIONS,                                Case No. 23-cv-05748-JD
22
                           Plaintiffs,                      DEFENDANTS’ REPLY IN
23                                                          SUPPORT OF THEIR MOTION
                                                            TO STRIKE DECLARATIONS
24          vs.                                             OF G. SPAIN [DKT. 128-1], J.
25                                                          KAWAHARA [DKT. 128-2], D.
     BRIDGESTONE AMERICAS TIRE OPERATIONS,                  BITTS [DKT. 128-3], AND S.
26   LLC; CONTINENTAL TIRE THE AMERICAS,                    BATES [DKT. 128-4].
     LLC; GITI TIRE (USA) Ltd.; THE GOODYEAR
27   TIRE & RUBBER COMPANY, individually and as             Note on Motion Calendar:
     successor in interest to COOPER TIRE & RUBBER          July 25, 2024
28   COMPANY; HANKOOK TIRE AMERICA Corp.;
     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
     Case No. 23-cv-05748-JD - Page 1
 1   KUMHO TIRE U.S.A., Inc.; MICHELIN NORTH
     AMERICA, Inc.; NOKIAN TYRES Inc.; NOKIAN
 2   TYRES U.S. OPERATIONS LLC; PIRELLI TIRE
     LLC; SUMITOMO RUBBER NORTH AMERICA,
 3
     Inc.; SUMITOMO RUBBER USA, LLC; TOYO
 4   TIRE HOLDINGS OF AMERICAS Inc.; and
     YOKOHAMA TIRE Corporation.
 5
                           Defendants.
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
     Case No. 23-cv-05748-JD - Page 2
 1           I.         The Companies asserted a factual attack on subject matter jurisdiction.

 2           “[A] Rule 12(b)(1) motion can attack the substance of a complaint's jurisdictional

 3   allegations despite their formal sufficiency, and in so doing rely on affidavits or any other

 4   evidence properly before the court.” St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir.1989),

 5   cert. denied, 493 U.S. 993, 110 S.Ct. 541, 107 L.Ed.2d 539 (1989). The Companies’ Rule

 6   12(b)(1) Motion to Dismiss does so with the support of the Declarations of Susan Smith (Smith

 7   Decl.) and Leopoldo Miranda-Castro (Miranda Decl.). Dkts. 127, 127-1, 127-2.

 8           Plaintiffs’ assert that the Companies’ tires discharge 6PPD and 6PPD-q to receiving

 9   waters, resulting in injury to salmonids. The Companies have introduced evidence showing that

10   Plaintiffs’ assertion is false. The Companies do not own the tires. The tires do not discharge to

11   receiving waters. Plaintiffs intentionally omit the actions of multiple other parties -- intervening

12   causes – from their recitation of the core facts of their case. These facts go directly to the issue

13   of traceability.

14           The Smith Declaration specifically puts these facts at issue. It details how stormwater

15   pollutants such as chemicals and particulates from tires are deposited on road surfaces, washed

16   away during storm events, and transported into receiving waters, in part due to highway design

17   practices that direct stormwater runoff away from roads. Smith Decl. ¶ 4, Ex. C at 38-41 and at ¶

18   5, Ex. D at 800-2. The Declaration shows that, contrary to Plaintiffs’ allegations, the

19   Companies’ inclusion of 6PPD is not fairly traceable to the alleged injuries. An extraordinarily
20   attenuated chain of events separates the two. Dkt. 127 at 6:11-7:4. The alleged injuries occur

21   only after a minimum twelve-step sequence of events, ten of which involve independent actions

22   by third parties that take place long after the tires leave the Companies’ possession, custody and

23   control. The Companies’ recounting of this causal chain has not been disputed, much less

24   refuted. The ten independent steps taken by the actions of independent actors cannot be fairly

25   traced to the Companies’ alleged conduct.

26           The Miranda-Castro Declaration shows that the Companies could not receive approval

27   for a habitat conservation plan (HCP) or obtain incidental take permits (ITPs), even if ordered by

28

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
      Case No. 23-cv-05748-JD - Page 3
 1   this Court to do so. Plaintiffs’ allegation that the alleged injuries are redressable by way of an

 2   order requiring the Companies obtain an ITP is not true; that remedy is not available. The Smith

 3   Declaration also shows that there is no known replacement for 6PPD, that there were over one

 4   billion extant tires in the United States in 2021, and that Americans purchases roughly 260

 5   million replacement tires each year. Smith Decl. at ¶ 2, 3, Ex. A, B. The allegation that

 6   Companies could replace 6PPD is not true; that remedy is not available. Nor would halting tire

 7   manufacture remove 6PPD from the stream of commerce. Again, most importantly, Plaintiffs

 8   have failed to rebut each of these factual assertions which challenge core components of

 9   Plaintiffs claim of standing.

10       The Companies’ Rule 12(b)(1) motion shifted the burden to Plaintiffs to “present affidavits

11   or any other evidence necessary to satisfy [their] burden of establishing that the court, in fact,

12   possesses subject matter jurisdiction”. St. Clair, 880 F.2d at 201. They have not done so. The

13   merit of Plaintiffs’ claims is not at issue for the Motion to Dismiss. The truthfulness of their

14   allegations in support of standing is. Plaintiffs’ declarations do not meaningfully address matters

15   relevant to the Companies’ Rule 12(b)(1) motion, and their Response fails to establish a proper

16   evidentiary foundation.

17          II.     The proffered declarations do not meet Civil L.R. 7-5(b).

18          Plaintiffs’ Declarations do not set forth any admissible facts to prove that the alleged

19   injuries are fairly traceable to the Companies’ inclusion of 6PPD in tires. The declarations do
20   not even speak to matters relevant to fair traceability. The declarants’ perception of, or

21   “reasonable concerns about the effects” of the Companies’ use of 6PPD on their interests is

22   irrelevant, as is their “personal understanding, that 6PPD is in tires and is harmful to fish.” Dkt.

23   136 at 6:22-24 and 7:19-20. The issue at hand is whether the allegations put forth to demonstrate

24   fair traceability are truthful, where the Companies have presented evidence showing that the

25   allegations are not, in fact, true. Plaintiffs focus on the end points (inclusion of 6PPD at the

26   point of manufacture and distribution on one end, and discharge to protected salmonid habitats,

27   on the other) but fail to describe or acknowledge the attenuated sequence of events needed to

28

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
      Case No. 23-cv-05748-JD - Page 4
 1   connect the two, most of which are substantially driven by the independent actions of third

 2   parties long after the Companies’ products leave their custody and control. Smith Decl. ¶ 4, Ex.

 3   C at 38-41; ¶ 5, Ex. D at 800-2. Plaintiffs’ allegations are false by the intentional omission of

 4   other critical facts addressing the mechanism for the complained of injuries.

 5             Plaintiffs also fail to offer any admissible evidence to prove redressability.1 The

 6   Declarations speculate, but do not present any admissible facts to demonstrate that there is a

 7   form of injunctive relief that is “(1) substantially likely to redress their injuries; and (2) within

 8   the district court’s power to award.” Juliana v. U.S., 947 F.3d 1159, 1170 (9th Cir. 2020). And

 9   the speculation Plaintiffs offer about various forms of redress does not rise to the level of

10   showing that any form of remedy is at least highly likely to redress the alleged harm (e.g.,

11   feasible, effective, “narrowly tailored”, and legally permissible).

12             III.   Plaintiffs do not contest the evidentiary issues raised in the Motion to Strike.

13             The Companies challenged the admissibility of dozens of specific statements in

14   Plaintiffs’ Declarations on the basis that the statements constituted improper expert or lay

15   opinion testimony. Dkt. 129 at 8:15-9:23. Plaintiffs concede that “the declarations are not

16   ‘expert’ declarations” and “contain no ‘expert opinions’”. Dkt. 136 at 7:13-14. But they are

17   attempting, instead, to pass off lay opinions as a substitute for admissible expert testimony.

18             Questions on toxicity and impact on salmonid populations require specialized knowledge

19   and education beyond the ken of most laymen. Plaintiffs do not even attempt to establish a
20   proper foundation under Fed. R. Evid. 701 for the declarants’ statements regarding the toxicity of

21   6PPD-q, whether it has affected salmonid populations, or that any proposed mitigation effort is

22   feasible and highly likely to be effective. Plaintiffs state only that the declarants work in the

23   fishing industry and are familiar with fishing conditions and related regulations. Plaintiffs do not

24   explain how that experience serves as a basis to offer opinions regarding the matters at issue in

25
     1
26     Plaintiffs’ reliance on Strojnik v. 574 Escuela, LLC, No. 3:18-CV-06777-JD, 2020 WL
     1557434, at *2 (N.D. Cal. Mar. 31, 2020) is misplaced. Dkt. 136 at 3, fn 1. Strojnik was a
27   facial, not factual attack on jurisdiction. 2020 WL 1557434 at * 1. The Companies’ attack is
     factual.
28

         DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
         Case No. 23-cv-05748-JD - Page 5
 1   the Motion to Dismiss. The challenged statements necessarily require scientific, technical, or

 2   other specialized knowledge. They are not suitable for lay opinion testimony under Fed. R.

 3   Evid. 701. The Fed. R. Evid. 702 foundation is absent.2 The challenged opinions do not comply

 4   with Civil Local Rule 7-5(b).

 5             The Companies challenged the admissibility of the declarants’ statements regarding (1)

 6   any link between stormwater runoff and Coho mortality, (2) the nature of 6PPD and 6PPD-q and

 7   their fate and transport in the environment, (3) a relationship between 6PPD, 6PPD-q and

 8   impacts to salmonids or fisheries, (4) that 6PPD or 6PPD-q caused the alleged harms to PCFFA,

 9   IFR or their individual members, (5) the potential benefits of various forms of injunctive relief

10   proffered by the declarants, and (6) the potential for Defendants to obtain an ESA Section 10

11   permit and the hypothetical requirements of such a permit. Dkt. 129 at 9:24-10:14. Plaintiffs do

12   not offer any facts to demonstrate that the declarants have personal knowledge of such matters,

13   or any information that would support an inference of personal knowledge.3 Personal knowledge

14   of fishing conditions and regulations is irrelevant. [Dkt. 136 at 7:17-18.] “Personal

15   understandings” are pure speculation and do not suffice. [Dkt. 136 at 19-20] Milton H. Green

16   Archives, Inc. v. CMG Worldwide, Inc., 04-2200 WL 11334030 at *17 (C.D. Cal., March 17,

17   2008). The bare assertion that the declarant possesses personal knowledge also does not suffice.

18   “Conclusory affidavits that do not affirmatively show personal knowledge of specific facts are

19   insufficient.” Casey v. Lewis, 4 F.3d 1516, 1527 (9th Cir. 1993). The only discernable sources
20   of information about each of these matters are inadmissible hearsay and speculation.

21

22
     2
       Plaintiffs’ citation of American Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505 (4th Cir.
23   2003) is distinguishable. There, the court reversed the district court’s standing
     determination. The lay testimony, however, regarded injury. More importantly, plaintiffs
24   submitted expert testimony stating that plaintiff’s geographic area was affected, thus establishing
25   causation. 326 F.3d at 520.
     3
       Plaintiffs suggest that a court’s previous denial of a motion to strike a declaration of Glen Spain
26   is persuasive, citing Pac. Coast Fed’n of Fishermen’s Ass’ns v. U.S. Bureau of Reclamation, 138
     F. Supp. 2d 1228 (N.D. Cal. 2001). Dkt. 136 at 1:15-17. However, the court in that instance
27   only denied the motions to strike as moot because Plaintiffs’ claim was not ripe for review. Pac.
     Coast Fed’n, 138 F. Supp. 2d at 1251.
28

         DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
         Case No. 23-cv-05748-JD - Page 6
 1          The Companies challenged the admissibility of specific statements in the Declarations

 2   which rely on inadmissible hearsay. Dkt. 129 at 11:13-12:7. The Plaintiffs do not address the

 3   Companies’ hearsay objections. Instead, they argue that the hearsay is immaterial because the

 4   Declarations are not offered to prove the truth of the matters asserted. Dkt. 136 at 10:5-8. If so,

 5   the challenged statements serve no relevant, proper purpose. The Companies’ Rule 12(b)(1)

 6   motion placed the truth of the allegations regarding fair traceability and redressability in issue.

 7   In response, the Plaintiffs provided statements in declarations which are not offered for their

 8   truth. Statements not offered for their truth do not rebut the Companies’ factual challenge to

 9   Article III standing.

10          Instead of attempting to demonstrate the truth of the allegations in support of standing

11   with admissible evidence presented by competent witnesses, Plaintiffs offer declarations “to

12   articulate the sources, contents, and contours of their ‘reasonable concerns about the effects’ of

13   Defendants’ use of 6PPD”. Dkt. 136 at 10:5-8. Plaintiffs’ “reasonable concerns” are irrelevant

14   to the question presented. Such matters might possibly be relevant if the Companies were

15   challenging the injury-in-fact element of Article III standing. See Friends of the Earth v.

16   Laidlaw Env’t Servs. (TOC), Inc, 528 U.S. 167, 169 (2000). But they are not.

17          Rather than defend the admissibility of the challenged statements, Plaintiffs have invited

18   this Court to ignore them or assign them little weight. Dkt. 136 at 4:4-18 and 7:5. The Court

19   could do so, but because the declarations do not comply with Civil Local Rule 7-5(b), an order
20   striking the declarations is warranted. Mulato, 76 F. Supp. 3d at 946 (striking “substantial

21   potions” of affidavits as conclusory, argumentative, and not based on personal knowledge, in

22   violation of Civil Local Rule 7-5(b)); see also Juarez v. Jani-King of Cal., Inc., No. 09–3495,

23   2010 WL 3766649, at *1-2 (N.D. Cal., Sept. 24, 2010) (striking portions of declarations as

24   argumentative, conclusory, and not based on personal knowledge, in violation of Civil Local

25   Rule 7-5(b)).

26

27

28

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
      Case No. 23-cv-05748-JD - Page 7
 1             IV.     Conclusion.

 2             The Companies ask that the Court grant their Motion to Strike Declarations of G. Spain, J.

 3   Kawahara, D. Bitts, and S. Bates and enter an order striking Paragraphs 4, 7, 11, 13, 14, 15, 16,

 4   17, 18, 19, 20, 21, 22, 23, 24, 25, and 26, and Exs. A, B, C, E, F, G of the Spain Decl. [Dkt. 128-

 5   1]; Paragraphs 7, 8, 9, 11, 12, 13, 14 of the Kawahara Decl. [Dkt. 128-2]; ¶¶ 6, 7, 9, 10, and 11 of

 6   the Bitts Decl. [Dkt. 128-3]; and Paragraphs 4, 5, 6, 7, 8, 9, 10, 11, and 12 of the Bates Decl. [Dkt.

 7   128-4].

 8

 9    Dated: July 23, 2024                               BEVERIDGE & DIAMOND PC

10                                                       By: /s/ Susan E. Smith
                                                             SUSAN E. SMITH
11                                                           LOREN DUNN (Admitted Pro Hac Vice)
                                                             W. PARKER MOORE (Admitted Pro
12                                                           Hac Vice)
                                                             Attorneys for Defendants
13
                                                             Bridgestone Americas Tire Operations,
14                                                           LLC; Continental Tire the Americas,
                                                             LLC; GITI Tire (USA), Ltd.; The
15                                                           Goodyear Tire & Rubber Company,
                                                             individually and as successor in interest
16                                                           to Cooper Tire & Rubber Company;
                                                             Nokian Tyres Inc.; Nokian Tyres U.S.
17
                                                             Operations, LLC; Pirelli Tire LLC;
18                                                           Sumitomo Rubber North America, Inc.;
                                                             Sumitomo Rubber USA, LLC; Toyo Tire
19                                                           Holdings of Americas, Inc.; and
                                                             Yokohama Tire Corporation.
20

21    Dated: July 23, 2024                               DLA PIPER LLP (US)

22                                                       By: /s/ George Gigounas
                                                             GEORGE GIGOUNAS
23                                                           CAROLINE LEE
                                                             PAUL WIERENGA (Admitted Pro Hac
24                                                           Vice)
                                                             Attorneys for Defendant
25
                                                             Michelin North America, Inc.
26

27

28

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
      Case No. 23-cv-05748-JD - Page 8
 1   Dated: July 23, 2024                     DLA PIPER LLP (US)

 2                                            By: /s/ Gwendolyn Keyes Fleming
                                                  GWENDOLYN KEYES FLEMING
 3                                                (Admitted Pro Hac Vice)
                                                  JUSTIN PARK
 4                                                DONGHYUN KIM
                                                  Attorneys for Defendant
 5
                                                  Kumho Tire U.S.A., Inc.
 6
     Dated: July 23, 2024                     DLA PIPER LLP (US)
 7
                                              By: /s/ Adam Baas
 8                                                ADAM BAAS
                                                  ALLEXANDERIA BINGHAM
 9                                                Attorneys for Defendant
10                                                Hankook Tire America Corp.

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
     Case No. 23-cv-05748-JD - Page 9
 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on the below date, I caused to be served a true and correct copy of the
 3   foregoing, which was served on all counsel of record using the Court’s CM/ECF system.
 4

 5          Dated: July 23, 2024
 6

 7                                                     /s/Natasha Johnston
                                                       Natasha Johnston, Legal Assistant
 8                                                     on behalf of Loren R. Dunn
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
     18590693v1 BDFIRM 021604
27

28

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STRIKE
      Case No. 23-cv-05748-JD - Page 10
